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  V.



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                                                            By:   M ichaelF.U rbansld
            D efendants.                                    ChiefUnited StatesDistdctJudge
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            TheUnited Stateshasm oved thattrialin thism attez,cturently setto be held in

  Roanoke,be conducted atthe D anville coutthouse.ECF N o.371.Trialisnotsetto begin

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